       Case 1:21-cr-00007-SHR Document 27 Filed 04/21/22 Page 1 of 4




                UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                )     Criminal No. 1:21-CR-007
                                        )
     v.                                 )
                                        )     (Judge Rambo)
VIRGINIA HAYDEN                         )
                                        )

                         MOTION IN LIMINE

     AND NOW, comes the United States Attorney’s Office, through

Scott R. Ford, Assistant United States Attorney, and files this Motion in

Limine:

     1.    On February 3, 2021, the defendant was charged in this

Court, by indictment, with: 14 counts of wire fraud, in violation of 18

U.S.C. §1343 (Counts 1-14) and one count of conversion of government

funds, in violation of 18 U.S.C. §641 (Count 15. (Doc. 1)

     2.    The indictment alleges the defendant unlawfully took the

Social Security Retirement benefits entitled to her husband, Thomas

Hayden. (Id.)

     3.    Trial is currently scheduled for May 16, 2021. (Doc. 26)

     4.    Social Security payments are a governmental benefit and not

an accrued property right (Flemming v. Nestor, 363 U.S. 603, 608, 80
       Case 1:21-cr-00007-SHR Document 27 Filed 04/21/22 Page 2 of 4




S.Ct. 1367, 4 L.Ed.2d 1435 (1960); therefore, they are not marital

property and Virginia Hayden had no interest in the payments by

virtue of her marriage to Thomas Hayden.

     5.    Furthermore, future social security payments may not be

transferred; therefore, Virginia Hayden cannot argue that Thomas

Hayden had told her she could keep the payments. 42 U.S.C. §407.

     6.    While Virginia Hayden could have potentially been entitled

to a wife’s insurance benefit or a widow’s insurance benefit under the

Social Security Act, that would not have entitled her to Thomas

Hayden’s retirement benefit.

     7.    For all these reasons, Virginia Hayden had no legal right to

the payments made by the Social Security Administration for the

benefit of Thomas Hayden and she should be precluded from presenting

any evidence or making any argument to the contrary.

     8.    Counsel for the defendant does not concur with this motion;

therefore the Government will be filing a Brief in Support.
      Case 1:21-cr-00007-SHR Document 27 Filed 04/21/22 Page 3 of 4




     WHEREFORE, the Government submits this Motion in Limine

and will submit an accompanying brief.

                                 Respectfully submitted,

                                 JOHN C. GURGANUS
                                 United States Attorney

                                 /s/ Scott R. Ford
Dated: April 21, 2022            Scott R. Ford
                                 Assistant U.S. Attorney
                                 scott.r.ford@usdoj.gov
                                 PA313258
                                 P.O. Box 11754
                                 Harrisburg, PA 17108
                                 717-221-4482 (office)
       Case 1:21-cr-00007-SHR Document 27 Filed 04/21/22 Page 4 of 4




                UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                )     Criminal No. 1:21-CR-007
                                        )
     v.                                 )
                                        )     (Judge Rambo)
VIRGINIA HAYDEN                         )
                                        )

                     CERTIFICATE OF SERVICE

      The undersigned hereby certifies that she is an employee in the
Office of the United States Attorney for the Middle District of
Pennsylvania and is a person of such age and discretion as to be
competent to serve papers. That on April 21, 2022, she served a copy of
the attached

                         MOTION IN LIMINE

by electronic means to the defendants’ attorneys at the following email
address:

Addressees:

Craig Kauzlarich
cek@abomkutulakis.com

                                  /s/ Irana L. Abrams
                                  Irana L. Abrams
                                  Legal Assistant
